Case 07-11047-CSS Doc 6158-6 Filed 09/30/08 Page 1of3

EXHIBIT “C”
Case 07-11047-CSS Doc 6158-6 Filed 09/30/08 Page 2 of 3

CERTIFIED BY FIRST AMERICAN TITLE

Requested and Prepared by: INSURANCE COMPANY TO BE A COPY

FIRST AMERICAN TITLE/LENDERS ADV OF THE DOCUMENT RECORDED ON 05/16/2008
AS INSTRUMENT NO. 2008-0265679

When Recorded Mail To: IN BOOK PAGE

Five Star Service Corporation OFFICIAL RECORDS OF SAN DIEGO

1000 Technology Drive

MS-314

O'Fallon, MO 63368-2240

3742486

SPACE ABOVE THIS LINE FOR RECORDER'S USE

Loan No.: 0012312425 Investor No.
TS No: 08-75528 APN.: 228-071-11-56

ASSIGNMENT OF DEED OF TRUST

For Value Received, the undersigned corporation hereby grants, assigns, and transfers to:
CitiMortgage, Inc.
all beneficial interest under that certain Deed of Trust dated: 05/24/2006 executed by
GUILLERMO A. MARTINEZ BAHENA, A SINGLE MAN, as Trustor(s), to
CALIFORNIA TITLE COMPANY, as Trusiee, and recorded as Instrument No. 2006-
0374682, on 05/26/2006, in Book ,Page of Official Records, in the office of the County
Recorder of San Diego County, California, describing land therein as: More fully described on
said Deed of Trust

together with the Promissory Note secured by said Deed of Trust and also all rights accrued or to
accrue under said Deed of Trust.
Case 07-11047-CSS Doc 6158-6 Filed 09/30/08 Page 3of 3

Loan No.: Investor No.
TS No: &%- TION APN.:

Date: G—\ 5K
MO GE ELECTRONIC REGISTRATION SYSTEMS,

INC,
L\~

LN,
AARONIMENNS, ASSISTANT VICE PRESIDENT

STATE OF MISSOURI
COUNTY OF SAINT CHARLES

On F - \-03 before me, James D. Agee, Ir. Personally appeared, AARON MENNE, ASSISTANT
VICH PRESIDENT who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their
authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon
behalf of which the person(s) acted, executed the instrument.

- I certify under PENALTY OF PERJURY under the laws of the State of Missouri that the foregoing paragraph is true
and correct.

WITNESS my hand and official seal.

Mh OC, oD

gnature of Officer

(Seal)

JAMES D, AGEE, JR. ,
Notary Public-Notary Seal
State of Missourl
St Charles County
1 My Commission Exphes ful 18. 2008 f

